                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 1 of 13 Page ID #:6514



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                                                           9 LIVEWIRE SERVICES, INC.
                                                          10
                                                          11                     UNITED STATES DISTRICT COURT
                                                          12                    CENTRAL DISTRICT OF CALIFORNIA
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13                              WESTERN DIVISION
                                          SAN FRANCISCO




                                                          14
                                                          15 PERFECT 10, INC., a California         Case No.: 11-cv-07098-ABC (SHx)
                                                             corporation,
                                                          16                                        DEFENDANTS GIGANEWS,
                                                          17              Plaintiff,                INC. AND LIVEWIRE
                                                                                                    SERVICES, INC.’S ANSWER TO
                                                          18        v.                              PLAINTIFF’S FIRST AMENDED
                                                                                                    COMPLAINT
                                                          19 GIGANEWS, INC., a Texas Corporation;
                                                             LIVEWIRE SERVICES, INC., a Nevada
                                                          20 corporation; and DOES 1 through 100,
                                                          21 inclusive,
                                                          22                Defendants.
                                                          23
                                                          24
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                                                          28
                                                               ANSWER                                         CASE NO. 11-cv-07098-ABC (SHx)
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 2 of 13 Page ID #:6515



                                                           1     GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.’S ANSWER TO
                                                           2      PERFECT 10’S FIRST AMENDED COMPLAINT FOR COPYRIGHT
                                                           3                                   INFRINGEMENT
                                                           4         Defendants Giganews, Inc. (“Giganews”) and Livewire Services, Inc.
                                                           5 (“Livewire”) (collectively “Defendants”) respond to Plaintiff Perfect 10, Inc.’s First
                                                           6 Amended Complaint as follows.
                                                           7         1.     Defendants admit the allegations of paragraph 1 of the First Amended
                                                           8 Complaint.
                                                           9         2.     Defendants admit the allegations of paragraph 2 of the First Amended
                                                          10 Complaint.
                                                          11         3.     Defendants deny the allegations of paragraph 3 of the First Amended
                                                          12 Complaint.
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                                                          13         4.     Defendants deny that PERFECT 10 magazine was ever popular.
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                                                          14 Defendants lack information or belief sufficient to admit or deny the remaining
                                                          15 allegations of paragraph 4 of the First Amended Complaint and therefore deny the
                                                          16 allegations.
                                                          17         5.     Defendants deny the allegations of paragraph 5 of the First Amended
                                                          18 Complaint.
                                                          19         6.     Livewire admits that it at some time operated the Internet websites
                                                          20 located at rhinonewsgroups.com, cheapnewsgroups.com, fastusenet.com,
                                                          21 usenetgiant.com, and usenet.net. Livewire admits that some of these websites are
                                                          22 no longer operational, and that Livewire still operates rhinonewsgroups.com,
                                                          23 powerusenet.com, and usenet.net. None of these websites has ever had any images
                                                          24 in which Perfect 10 has alleged it owns the copyright. Defendants deny the
                                                          25 remaining allegations of paragraph 6 of the First Amended Complaint.
                                                          26         7.     Defendants admit that Ronald Yokubaitis and members of his family
                                                          27 own and control Giganews and Livewire. Defendants deny the remaining
                                                          28 allegations of paragraph 7 of the First Amended Complaint.
                                                                                                                        CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   1
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 3 of 13 Page ID #:6516



                                                           1         8.     Defendants deny the allegations of paragraph 8 of the First Amended
                                                           2 Complaint.
                                                           3         9.     Defendants deny the allegations of paragraph 9 of the First Amended
                                                           4 Complaint.
                                                           5         10.    Defendants deny they acted with any Doe Defendants to harm or
                                                           6 damage Perfect 10 as it alleges. Defendants lack information or belief sufficient to
                                                           7 admit or deny the remaining allegations of paragraph 10 of the First Amended
                                                           8 Complaint and therefore deny the allegations.
                                                           9         11.    Defendants deny the allegations of paragraph 11 of the First Amended
                                                          10 Complaint.
                                                          11         12.    Defendants deny the allegations of paragraph 12 of the First Amended
                                                          12 Complaint.
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                                                          13         13.    Defendants deny the allegations of paragraph 13 of the First Amended
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                                                          14 Complaint. Defendants believe that the business of Perfect 10 consists of copyright
                                                          15 litigation for purposes of settlement revenue.
                                                          16         14.    Defendants deny the allegations of paragraph 14 of the First Amended
                                                          17 Complaint.
                                                          18         15.    Defendants deny the allegations of paragraph 15 of the First Amended
                                                          19 Complaint.
                                                          20         16.    Defendants lack information or belief sufficient to admit or deny the
                                                          21 allegations of paragraph 16 of the First Amended Complaint and therefore deny the
                                                          22 allegations.
                                                          23         17.    Defendants deny that Perfect 10’s revenues are currently derived
                                                          24 predominately from sales of memberships to its perfect10.com website. Defendants
                                                          25 believe that Perfect 10’s revenues almost exclusively derive from litigation
                                                          26 settlements. Defendants lack information or belief sufficient to admit or deny the
                                                          27 remaining allegations of paragraph 17 of the First Amended Complaint and
                                                          28 therefore deny the allegations.
                                                                                                                         CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   2
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 4 of 13 Page ID #:6517



                                                           1         18.    Defendants deny that Exhibits 4-6 include Perfect 10 copyrighted
                                                           2 images that Defendants have infringed. Defendants deny that Perfect 10 continues
                                                           3 to invest substantial sums of money, time, effort, and creative talent to make and
                                                           4 produce Perfect 10 copyrighted works. Defendants lack information or belief
                                                           5 sufficient to admit or deny the remaining allegations of paragraph 18 of the First
                                                           6 Amended Complaint and therefore deny the allegations.
                                                           7         19.    Defendants deny that Perfect 10 owns a valuable and well-known
                                                           8 Perfect 10 family of trademarks. Defendants further deny that Perfect 10 uses such
                                                           9 marks in commerce or in connection with the sale of certain products including
                                                          10 Perfect 10 Magazine. Defendants lack information or belief sufficient to admit or
                                                          11 deny the remaining allegations of paragraph 19 of the First Amended Complaint
                                                          12 and therefore deny the allegations.
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                                                          13         20.    Defendants lack information or belief sufficient to admit or deny the
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                                                          14 allegations of paragraph 20 of the First Amended Complaint and therefore deny the
                                                          15 allegations.
                                                          16         21.    Defendants deny that Perfect 10 secures valid assignments of its
                                                          17 models’ rights of publicity and that the so-called Perfect 10 Rights of Publicity are
                                                          18 valuable. Defendants lack information or belief sufficient to admit or deny the
                                                          19 allegations of paragraph 21 of the First Amended Complaint and therefore deny the
                                                          20 allegations.
                                                          21         22.    Defendants deny infringement and deny that any infringement as
                                                          22 Plaintiff describes is devastating to or threatens the existence of Perfect 10’s
                                                          23 business. Defendants lack information or belief sufficient to admit or deny the
                                                          24 remaining allegations of paragraph 22 of the First Amended Complaint and
                                                          25 therefore deny the allegations.
                                                          26         23.    Giganews admits that it operates the Internet website located at
                                                          27 giganews.com. Livewire admits that it operates or has operated the Internet
                                                          28 websites located at rhinonewsgroups.com, powerusenet.com, infinityusenet.com,
                                                                                                                         CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                    3
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 5 of 13 Page ID #:6518



                                                           1 eurousenet.com, galacticegroups.com, cheapnewsgroups.com, fastusenet.com,
                                                           2 usenetgiant.com, and usenet.net, but at no time have those websites had images in
                                                           3 which Perfect 10 claims copyright rights. Defendants admit that the Yokubaitis
                                                           4 family owns or controls both Giganews and Livewire. Defendants deny the
                                                           5 remaining allegations of paragraph 23 of the First Amended Complaint.
                                                           6         24.    Defendants deny the allegations of paragraph 24 of the First Amended
                                                           7 Complaint.
                                                           8         25.    Giganews admits that it has in the past and continues to provide
                                                           9 Usenet access services to some of the largest and most prestigious Internet service
                                                          10 providers in the world, which have provided Giganews’s Usenet access services to
                                                          11 over 10 million households since Giganews began its services. Defendants deny
                                                          12 the remaining allegations of paragraph 25 of the First Amended Complaint.
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                                                          13         26.    Defendants deny the allegations of paragraph 26 of the First Amended
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                                                          14 Complaint.
                                                          15         27.    Giganews admits that, in connection with certain subscriptions, it
                                                          16 furnishes customers a username and password. Defendants deny the remaining
                                                          17 allegations of paragraph 27 of the First Amended Complaint.
                                                          18         28.    Defendants deny the allegations of paragraph 28 of the First Amended
                                                          19 Complaint.
                                                          20         29.    Defendants deny the allegations of paragraph 29 of the First Amended
                                                          21 Complaint.
                                                          22         30.    Defendants admit that, in the Mimo browser, search results contain a
                                                          23 field called “poster” that provides a reference to a person ostensibly contributing a
                                                          24 message to the Usenet and a field called “age” that refers to how long Giganews’s
                                                          25 Usenet servers have stored a Usenet message. Defendants lack information or
                                                          26 belief sufficient to admit or deny the allegations regarding specific articles that
                                                          27 Plaintiff refers to in paragraph 30. Defendants deny the remaining allegations of
                                                          28 paragraph 30 of the First Amended Complaint and therefore deny the allegations.
                                                                                                                          CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                    4
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 6 of 13 Page ID #:6519



                                                           1        31.    Defendants lack information or belief sufficient to admit or deny the
                                                           2 allegations regarding Exhibit 3 and therefore deny those allegations. Defendants
                                                           3 deny the remaining allegations of paragraph 31 of the First Amended Complaint.
                                                           4        32.    Giganews admits it provides its customers access to the Usenet, but it
                                                           5 does not “allow” or “forbid” what its customers (or customers of its customers)
                                                           6 may choose to download. Defendants deny that they offer the images in Exhibit 4
                                                           7 to users. Defendants lack information or belief sufficient to admit or deny the
                                                           8 remaining allegations of paragraph 32 of the First Amended Complaint and
                                                           9 therefore deny the allegations.
                                                          10        33.    Giganews admits that it offers a newsreader called Mimo as part of its
                                                          11 services to its Diamond members, and that the retail price of a Diamond
                                                          12 membership is $34.99/month. Defendants deny the remaining allegations of
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                                                          13 paragraph 33 of the First Amended Complaint.
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                                                          14        34.    Defendants deny the allegations of paragraph 34 of the First Amended
                                                          15 Complaint.
                                                          16        35.    Defendants deny the allegations of paragraph 35 of the First Amended
                                                          17 Complaint.
                                                          18        36.    Defendants deny the allegations of paragraph 36 of the First Amended
                                                          19 Complaint.
                                                          20        37.    Defendants deny the allegations of paragraph 37 of the First Amended
                                                          21 Complaint.
                                                          22        38.    Defendants deny the allegations of paragraph 38 of the First Amended
                                                          23 Complaint.
                                                          24        39.    Defendants deny the allegations of paragraph 39 of the First Amended
                                                          25 Complaint.
                                                          26        40.    Defendants deny the allegations of paragraph 40 of the First Amended
                                                          27 Complaint
                                                          28
                                                                                                                        CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                  5
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 7 of 13 Page ID #:6520



                                                           1         41.    Defendants deny that Giganews offers Perfect 10 magazines.
                                                           2 Defendants lack information or belief sufficient to admit or deny the remaining
                                                           3 allegations of paragraph 41 of the First Amended Complaint and therefore deny the
                                                           4 allegations.
                                                           5         42.    Defendants deny that uploading movies to the Usenet would always
                                                           6 subject the uploader to severe penalties for criminal copyright infringement; for
                                                           7 example, an uploader who is the copyright owner or who has legal authorization or
                                                           8 justification to make the upload would not be subject to any penalties. Defendants
                                                           9 lack information or belief sufficient to admit or deny the remaining allegations of
                                                          10 paragraph 42 of the First Amended Complaint and therefore deny the allegations.
                                                          11         43.    Defendants deny all allegations regarding Giganews in paragraph 43.
                                                          12 Defendants lack information or belief sufficient to admit or deny the remaining
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                                                          13 allegations of paragraph 43 of the First Amended Complaint and therefore deny the
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                                                          14 allegations.
                                                          15         44.    Defendants deny the allegations of paragraph 44 of the First Amended
                                                          16 Complaint.
                                                          17         45.    Giganews admits that in March 2009, it received, addressed to “To
                                                          18 Whomever It May Concern” at “Giganews,” a letter dated March 25, 2009 from
                                                          19 Perfect 10. Giganews admits that it wrote back to Perfect 10 explaining that Perfect
                                                          20 10’s letter did not provide the Message IDs necessary for Giganews to identify any
                                                          21 allegedly infringing images that Perfect 10’s letter referred to and explaining to
                                                          22 Perfect 10 how to locate and provide the Message IDs. Defendants deny the
                                                          23 remaining allegations of paragraph 45 of the First Amended Complaint.
                                                          24         46.    Defendants deny the allegations of paragraph 46 of the First Amended
                                                          25 Complaint.
                                                          26         47.    Defendants deny the allegations of paragraph 47 of the First Amended
                                                          27 Complaint.
                                                          28
                                                                                                                        CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   6
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 8 of 13 Page ID #:6521



                                                           1         48.    Defendants lack sufficient information or belief regarding the specific
                                                           2 contents of Plaintiff’s communications with Visa to admit or deny these allegations
                                                           3 and therefore deny them. Defendants deny the remaining allegations of paragraph
                                                           4 48 of the First Amended Complaint.
                                                           5         49.    Defendants lack information or belief sufficient to admit or deny the
                                                           6 allegations of paragraph 49 of the First Amended Complaint and therefore deny the
                                                           7 allegations.
                                                           8         50.    Defendants lack information or belief sufficient to admit or deny
                                                           9 whether Exhibit 6 includes images of the faces of Christina Aguilera, Bridget
                                                          10 Fonda, Halle Berry, Jennifer Lopez, Kate Beckinsale, Katie Holmes, and Natalie
                                                          11 Portman superimposed on portions of images copyrighted by Perfect 10, and
                                                          12 therefore deny this allegation. Defendants deny the remaining allegations of
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                                                          13 paragraph 50 of the First Amended Complaint.
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                                                          14         51.    Defendants deny the allegations of paragraph 51 of the First Amended
                                                          15 Complaint.
                                                          16         52.    Defendants deny the allegations of paragraph 52 of the First Amended
                                                          17 Complaint.
                                                          18         53.    Defendants deny the allegations of paragraph 53 of the First Amended
                                                          19 Complaint.
                                                          20         54.    Defendants lack information or belief sufficient to admit or deny
                                                          21 whether or how many images associated with messages found on the newsgroups
                                                          22 alt.binaries.celeb.fake and alt.binaries.pictures.nude.celebrities.fake use a “Perfect
                                                          23 10 image” for the purported body of a celebrity and whether any such images
                                                          24 infringe upon Perfect 10’s copyrights, and they therefore deny those allegations.
                                                          25 Defendants deny the remaining allegations of paragraph 54 of the First Amended
                                                          26 Complaint.
                                                          27         55.    Defendants lack information or belief sufficient to admit or deny the
                                                          28 allegations regarding the numbers or character of articles or messages on April 20,
                                                                                                                         CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                    7
                                          Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 9 of 13 Page ID #:6522



                                                           1 2011. Defendants deny the remaining allegations of paragraph 55 of the First
                                                           2 Amended Complaint.
                                                           3         56.   Defendants deny the allegations of paragraph 56 of the First Amended
                                                           4 Complaint.
                                                           5         57.   Defendants deny the allegations of paragraph 57 of the First Amended
                                                           6 Complaint.
                                                           7         58.   Defendants deny the allegations of paragraph 58 of the First Amended
                                                           8 Complaint.
                                                           9         59.   Livewire admits that it operates or has operated the Internet websites
                                                          10 located at rhinonewsgroups.com, powerusenet.com, infinityusenet.com,
                                                          11 eurousenet.com, galacticegroups.com, cheapnewsgroups.com, fastusenet.com,
                                                          12 usenetgiant.com, and usenet.net. None of these websites has ever had any images
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                                                          13 in which Perfect 10 has alleged it owns the copyright. Defendants admit that the
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                                                          14 Yokubaitis family owns or controls both Giganews and Livewire. Defendants deny
                                                          15 the remaining allegations of paragraph 59 of the First Amended Complaint.
                                                          16         60.   Defendants admit that Ronald Yokubaitis is the currently listed
                                                          17 Designated Agent to Receive Notification of Claimed Infringement with the U.S.
                                                          18 Copyright Office for Livewire, and that Mr. Yokubaitis is also the currently listed
                                                          19 Designated Agent to Receive Notification of Claimed Infringement with the U.S.
                                                          20 Copyright Office for Giganews. Defendants deny the remaining allegations of
                                                          21 paragraph 60 of the First Amended Complaint.
                                                          22         61.   Defendants deny the allegations of paragraph 61 of the First Amended
                                                          23 Complaint.
                                                          24         62.   Defendants deny the allegations of paragraph 62 of the First Amended
                                                          25 Complaint.
                                                          26         63.   Defendants deny the allegations of paragraph 63 of the First Amended
                                                          27 Complaint.
                                                          28
                                                                                                                        CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   8
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                                                           1        64.     Defendants deny the allegations of paragraph 64 of the First Amended
                                                           2 Complaint.
                                                           3        65.     Defendants deny the allegations of paragraph 65 of the First Amended
                                                           4 Complaint.
                                                           5        66.     Defendants deny the allegations of paragraph 66 of the First Amended
                                                           6 Complaint.
                                                           7                                     FIRST CLAIM
                                                           8        67.     Defendants repeat and incorporate here their responses to paragraphs
                                                           9 1-66 above.
                                                          10        68.     Defendants lack information or belief sufficient to admit or deny the
                                                          11 allegations of paragraph 68 of the First Amended Complaint and therefore deny the
                                                          12 allegations.
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                                                          13        69.     Defendants deny the allegations of paragraph 69 of the First Amended
                                          SAN FRANCISCO




                                                          14 Complaint.
                                                          15        70.     Defendants deny the allegations of paragraph 70 of the First Amended
                                                          16 Complaint.
                                                          17        71.     Defendants deny the allegations of paragraph 71 of the First Amended
                                                          18 Complaint.
                                                          19        72.     Defendants deny the allegations of paragraph 72 of the First Amended
                                                          20 Complaint.
                                                          21        73.     Defendants deny the allegations of paragraph 73 of the First Amended
                                                          22 Complaint.
                                                          23        74.     Defendants deny the allegations of paragraph 74 of the First Amended
                                                          24 Complaint.
                                                          25        75.     Defendants deny the allegations of paragraph 75 of the First Amended
                                                          26 Complaint.
                                                          27        76.     Defendants deny the allegations of paragraph 76 of the First Amended
                                                          28 Complaint.
                                                                                                                         CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   9
                               Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 11 of 13 Page ID #:6524



                                                           1         77.   Defendants deny the allegations of paragraph 77 of the First Amended
                                                           2 Complaint.
                                                           3         78.   Defendants deny the allegations of paragraph 78 of the First Amended
                                                           4 Complaint.
                                                           5         79.   Defendants deny the allegations of paragraph 79 of the First Amended
                                                           6 Complaint.
                                                           7         80.   Defendants deny the allegations of paragraph 80 of the First Amended
                                                           8 Complaint.
                                                           9         81.   Defendants deny the allegations of paragraph 81 of the First Amended
                                                          10 Complaint.
                                                          11         82.   Defendants deny the allegations of paragraph 82 of the First Amended
                                                          12 Complaint.
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                                                          13                     AFFIRMATIVE AND OTHER DEFENSES
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                                                          14         Defendants assert the following defenses, whether affirmative or otherwise.
                                                          15 Defendants reserve all further defenses that may now or in the future exist based on
                                                          16 discovery and further factual investigation in the case.
                                                          17         1.    The First Amended Complaint and each claim within it fail to allege
                                                          18               facts sufficient to state a cause of action.
                                                          19         2.    The lack of any volitional action by Defendants relating to
                                                                           infringement bars liability of Defendants.
                                                          20
                                                          21         3.    Defendants’ lack of culpable intent regarding alleged underlying
                                                                           infringements bars the claims against Defendants.
                                                          22
                                                          23         4.    Defendants’ lack of specific knowledge of alleged underlying
                                                                           infringements bars the claims against Defendants.
                                                          24
                                                                     5.    Defendants’ lack of any respondeat superior relationship with any
                                                          25               alleged infringers bars vicarious liability of Defendants.
                                                          26
                                                                     6.    Defendants’ lack of direct financial profit from the alleged underlying
                                                          27               infringements bars the claims against Defendants.
                                                          28
                                                                                                                        CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                  10
                               Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 12 of 13 Page ID #:6525



                                                          1          7.    The fair use doctrine bars Plaintiff’s claims.
                                                          2          8.    The doctrine of unclean hands bars Plaintiff’s claims.
                                                          3
                                                                     9.    The doctrine of copyright misuse bars Plaintiff’s claims.
                                                          4
                                                                     10.   Plaintiff’s failure to mitigate damages bars Plaintiff’s claims.
                                                          5
                                                          6          11.   Waiver and estoppel bar Plaintiff’s claims.

                                                          7          12.   Lack of ownership of the alleged copyrights bars Plaintiff’s claims
                                                                           with respect to any copyrights that Perfect 10 does not own.
                                                          8
                                                          9          13.   The safe harbors under 17 U.S.C. § 512 bar the relief against
                                                                           Defendants that the Plaintiff seeks.
                                                          10
                                                                     14.   To the extent that Plaintiff or its predecessors did not register
                                                          11
                                                                           copyrights before alleged infringements or within three months of first
                                                          12               publication of published works, the failure to register timely bars
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                                                                           Plaintiff’s claims for statutory damages and attorney’s fees.
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                                                          14         15.   To the extent that Plaintiff or its predecessors did not register
                                                                           copyrights before alleged infringements of unpublished works, the
                                                          15               failure to register timely bars Plaintiff’s claims for statutory damages
                                                          16               and attorney’s fees.

                                                          17         16.   Plaintiff’s claims for statutory damages violate the First, Fifth, and
                                                                           Eighth Amendments to the United States Constitution.
                                                          18
                                                          19         17.   The lack of statutory causes of action for contributory infringement
                                                                           and vicarious liability bars Plaintiff’s claim for statutory damages for
                                                          20               those alleged causes of action.
                                                          21
                                                                     18.   The Court lacks jurisdiction to adjudicate claims of infringement of
                                                          22               copyrights for which Perfect 10 does not own a registration, and this
                                                                           case is not yet ripe for adjudication of infringements of copyrights for
                                                          23
                                                                           which Perfect 10 does not own a registration.
                                                          24
                                                                                           PRAYER FOR RELIEF
                                                          25
                                                                     Defendants respectfully request that the Court enter judgment in favor of
                                                          26
                                                               Defendants that Plaintiff take nothing by its claims against Defendants; award
                                                          27
                                                          28
                                                                                                                            CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   11
                               Case 2:11-cv-07098-AB-JPR Document 130 Filed 07/24/13 Page 13 of 13 Page ID #:6526



                                                          1 Defendants their attorneys’ fees and costs pursuant to the Copyright Act in
                                                          2 connection with this action; and grant all other relief as this Court deems proper.
                                                          3                            DEMAND FOR JURY TRIAL
                                                          4         Defendants request trial by jury.
                                                          5 Dated: July 24, 2013                    FENWICK & WEST LLP
                                                          6
                                                                                                    By: /s/ Andrew P. Bridges
                                                          7                                             Andrew P. Bridges
                                                                                                        Jennifer L. Kelly
                                                          8                                             Kathleen Lu
                                                          9
                                                                                                         Attorneys for Defendants
                                                          10                                             GIGANEWS, INC.,
                                                                                                         LIVEWIRE SERVICES, INC.
                                                          11
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                                                                                                                       CASE NO. 11-cv-07098-ABC (SHx)
                                                               ANSWER                                   12
